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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )
                                    )
           vs.                      )   Case No. 4:21-cr-40039-SMY
                                    )
MINGQING XIAO,                      )
                                    )
                 Defendant.         )

           UNITED STATES’ RESPONSE TO MOTION TO SUPPRESS
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       The interview of Mr. Xiao had none of the hallmarks of custodial interrogation. It was

conducted at Mr. Xiao’s residence sitting around the dining room table after Mr. Xiao invited

agents to “feel free to ask” questions. There was no show of force, no raised voices, and no

restraints of any kind. And, of course, there was no arrest at the conclusion of the interview. Thus,

Defendant’s motion to suppress should be denied. Because Defendant’s allegations on their face

do not establish a custodial interrogation, the Court can deny the motion without a hearing. See

United States v. Madison, 689 F.2d 1300, 1308 (7th Cir. 1982). But if the Court disagrees, the

government respectfully asks for a hearing to present evidence addressing contested facts.

                                        BACKGROUND

       Whenever federal programs offer money, fraud follows, and this case is no exception. In

order to make a grant application more competitive, Defendant Mingqing Xiao made materially

false statements and omissions to the National Science Foundation (NSF) in September 2018 in

order to obtain a grant running from 2019 to 2022. Among other things, Defendant Xiao told NSF

he had no other time commitments, grants, or grant proposals. In fact, Defendant Xiao (1) had

received a grant from the Natural Science Foundation of Guangdong Province for about $180,000

that ran from 2018-2022, (2) had contractually promised to work two months a year for Shenzhen

University in addition to his full-time employment at Southern Illinois University-Carbondale, and

(3) applied for a grant from the National Science Foundation of China. NSF followed up in April

2019 to specifically ask about “any position outside of the US or any source of funding from any

non-US funding source,” and any “commitments of time” to such projects. Defendant Xiao

doubled down, telling them he had nothing to report. Had Mr. Xiao truthfully disclosed these other

commitments the NSF very likely would not have funded his grant and would have instead

awarded the funding to a deserving candidate and their valuable work.

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         In December 2020, two federal agents knocked on Mr. Xiao’s door to ask him about this

fraud. The agents agreed to wait several minutes until Mr. Xiao could come to the door. Then,

Mr. Xiao invited them in (“Come, please come”), encouraged them to take a seat (“Now you guys

have a seat. Yeah, have a seat.”), and told them to “feel free to ask” any questions they had. Doc.

39-1 at 3. 1 Mr. Xiao and agents sat down at the table in the dining room. Mr. Xiao’s adult daughter

sat at the same table, moving in and out and occasionally contributing to the conversation.

         The interview was congenial and polite. Defendant Xiao, who has lectured in English for

over twenty years at both the undergraduate and graduate levels, often fell into professorial mode,

giving long answers. See, e.g., Id. at 13, 19, 46. Agents asked about Mr. Xiao’s travel to China.

Id. at 4. Contrary to defense’s motion, agents had a legitimate purpose in asking about these

travels, as Mr. Xiao had gone to China to work on the projects that he failed to disclose to NSF.

In order to put Mr. Xiao at ease, agents suggested there may have been an identity mix up. Id. In

response, Mr. Xiao conversationally discussed his travels and extended family. Id. at 5-8. He got

up and retrieved his passport without any prompting from agents. Id. at 5. Contrary to defense’s

motion, the passport was left on the table throughout the interview.

         The agents quickly asked Mr. Xiao specifically about his overseas grant. Id. at 9 (“Plus

your grant in China . . . came up as well”). Mr. Xiao initially told the agents what he told NSF—

that he did not have one. Id. (“I don’t have any grants in China.”). Realizing agents knew this

was false, Mr. Xiao backpedaled, admitting that his name was on a grant in China, but, he claimed,

he was just listed as “personnel or support[,] something like that” not as “[a] PI” or principal

investigator. Id. This, too, was false. Mr. Xiao had disclosed to his department supervisor at



1
  The audio recording of the interview is the original copy, and the government attaches it hereto. Att. A. The
government cites to the Defendant’s transcript of the interview, Doc. 39-1, for the Court’s convenience. But it contests
the accuracy of the transcript at several key points and is preparing its own transcript for trial.
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SIUC that he was in fact a co-PI on a grant with the Natural Science Foundation of Guangdong

Province. See Att. B. Mr. Xiao hid this grant from NSF.

         Mr. Xiao then quickly changed the topic. Shenzhen University, he said, had recently paid

him to review the promotion file of a professor there. Id. at 10-11. He claimed that this request

was “random[],” and probably was made because Mr. Xiao helped coordinate collaboration

between SIUC and Shenzhen University, including a potential joint Ph.D. program. Id. at 12-15.

Agents asked if this potential collaboration had any ties to the Chinese government’s “talent

plans.” Id. at 14. Mr. Xiao stated that it “has nothing to do with the talent plan.” Id. But Mr.

Xiao would later admit that he applied for the Thousand Talent program “through the Shenzhen

University” in 2016. 2 Doc. 39-1 at 46. And in January 2021, he would admit to SIUC that his

contract with Shenzhen University required him to help Shenzhen University faculty apply for and

receive national grants (in China). Att. C.

         Shenzhen University was a safe topic for Mr. Xiao until agents asked him about the nature

of his relationship with it. Asked if he has ever been a professor employed by a university in

China, Mr. Xiao said no. Id. at 19 (“Not employee but give a program, yeah, I do often”). Mr.

Xiao then said he just sometimes gets a speaking fee from universities in China. Id. at 21. When

asked about anything other than a speaking fee, Mr. Xiao admitted “Shenzhen University[,] they

say they pay me if I visit them,” adding that “they say the money is for me to visit them.” Id.

         But it quickly became apparent that this was not true: in fact, Shenzhen University was

paying Mr. Xiao about $2,000 a month, and doing so whether he traveled to China or not. 3 Id. at



2
  Chinese talent programs are Chinese-government sponsored awards used to recruit experts from western universities,
research centers, and private companies to boost China national capabilities in the science and technology fields.
3
  Mr. Xiao admitted that this made his relationship with Shenzhen University different than his relationship with other
universities, which, he said, did not give him any money. Id. at 23 (“Agent: … you don’t get any money from any
other universities…” Xiao: No.”).
                                                          3
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22 (“every month” and “[a]bout two thousand Unit- US dollars”). In fact, Shenzhen University

had paid him $2,000 a month going back to 2016, resulting in a current account balance of over

$100,000. Id. 23-26. Shenzhen University paid all this money into his account, Mr. Xiao admitted,

even though he had not traveled to Shenzhen University in 2016, 2017, or 2018. Id. at 26.

        Agents asked him again, “Do you have a contract with them [Shenzhen University]?” Mr.

Xiao denied it: “not like a contract, they just say now this the money [we] give you for the …

because I also supervise one of the . . . some of the students in China. . . I [make] what the

supervisor makes when they write a paper.” Id. at 26. Later, asked again if he has a contract with

Shenzhen, Mr. Xiao responded: “Uh uh I don’t know is that’s called contract because it’s kind of

like[,] uh I knew I couldn’t find right now[,] is that they say that there’s the money for you to

supposed to um come . . . twice a year.” Id. at 53-54.

        Mr. Xiao hid the true nature of his relationship with Shenzhen University for a simple

reason: Mr. Xiao, ostensibly working for SIUC, was pushing SIUC to set up a collaborative

program with Shenzhen University. But SIUC was unaware that Mr. Xiao had a contract with

Shenzhen University obligating Mr. Xiao to lobby for that collaborative program. Pointedly, Mr.

Xiao had not disclosed to SIUC that Shenzhen University had been giving him money. Id. at 28

(Agent: “[D]id you ever tell the university about the uh like this stipend or whatever, SIU?” Xiao:

Uh, no.”); 44 (Agent: Did the university approve you to get the two thousand dollars a month from

Shenzhen? Did they know about it? Xiao: No, no they didn’t they didn’t know it.”). He had not

told the IRS about it either. Id. at 35.

        That is one of the reasons Mr. Xiao did not disclose to NSF his contractual affiliation with

Shenzhen University and the significant amount of time he had committed to that institution. At

the time in 2019, Mr. Xiao was under investigation by NSF and SIUC for plagiarism on an earlier

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NSF grant application. When asked why he did not disclose his affiliation with Shenzhen

University even when NSF specifically followed up, Mr. Xiao explained that he was concerned it

would make him look bad and potentially damage his relationship with SIU: “Agent: Why didn’t

you follow up and do that [make the disclosure]? … Xiao: Yeah, I think I should do that but I just

didn’t do it at the time.” Id. at 41. He continued:

        Xiao: My thinking is that they will make more and more complicated, is that now its
        already about the plagiarism and then over the money [from Shenzhen University], and
        everything go together … it makes just…
        Agent: right, you were worried it was just going to stack on, so…
        Xiao: Right, right. It just makes this thing seem more and more complicated and how to
        explain it …

Id. at 42. 4 Mr. Xiao was also concerned disclosure would “damage” his “employment” with SIUC.

Id. at 43. Mr. Xiao had been hiding from SIUC the true nature of his relationship with Shenzhen

University and the payments Shenzhen University was making to him. Had he made the proper

disclosures to NSF, it not only would have made it harder to get the grant, but SIUC may have

found out, and Mr. Xiao did not want that.

        After the interview, agents served a search warrant. Before bringing in the search warrant

team, however, the two agents worked with Mr. Xiao and his family so other agents could carry

out the search warrant without disturbing their studies and be as “non invasive as possible.” Id. at

66; see also id at 72 (“[T]hey’re doing school right now . . . So if you could not disrupt them as

much as possible.”). Agents also notified SIUC so the university could provide Mr. Xiao with a

new work laptop to minimize any professional disruption. Id. at 67.

        Although not necessary, agents explained the Miranda warnings to Mr. Xiao in conjunction

with the search warrant. Doc. 39-1 at 70. Mr. Xiao signed the Miranda rights form. As part of


4
 The transcription here comes from the audio recording because of inaccuracies with the transcription in Doc. 39-1,
but the relevant passage appears on page 42-43 of that document and at 1:19:40 to 1:21:25 of the audio.
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the search, agents seized two cellphones used by Mr. Xiao, an Iphone used in the U.S. and a

Huawei phone that Mr. Xiao said he primarily used while in China. At some point during this

process, agents took the time to tell Mr. Xiao that they did not want to harm his reputation and did

not intend to tell other faculty about the interview or the search. Agents did not instruct Mr. Xiao

that he could not speak with other professors; if that had been their intent, they would have used a

non-disclosure form. The next day, Mr. Xiao’s spouse contacted agents about a computer that she

said belonged to her, not Mr. Xiao. Although Defendant now claims agents did not return the

spouse’s laptop until January 21, 2021, see Doc. 39 at 7, agents returned it by overnight mail the

same day it was requested. See Att. D.

        Mr. Xiao did not sit passive between December 3, 2020 and January 21, 2021. He thought

better of his prior secrecy and disclosed to SIUC the real nature of his relationship with Shenzhen

University. On January 16, 2021, he submitted revisions to his SIUC Financial Interest on Grants

Disclosure Statement Form, previously submitted in September 2018. See Att. C. Mr. Xiao

explained that while he had answered “no” on the 2018 form to a question asking about “any

remuneration, gift, or in-kind support . . . from a foreign institution of higher education,” he in fact

“had some income from teaching engagement from Shenzhen University.” Id. (emphasis added).

Later in the letter, he admitted that this “income” is provided in the form of a stipend of “around

$24,000 per year.” Id. at 3. Mr. Xiao explained that he chose to make the revised disclosure after

talking with Dr. DiLilla, another professor at SIU and the then- Associate Provost for Academic

Administration. Id. Mr. Xiao also admitted he had received about $30,000 from 2017 to 2020

from a collaborator, Professor Shuiting Cai of Guangdong University of Technology in China. Id.

This was the same time period when Cai and Mr. Xiao received the grant from the Natural Science

Foundation of Guangdong Province, which ran from 2018-2022.

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        Mr. Xiao also admitted he had been under contract with Shenzhen University since 2016

and disclosed the terms of that contract. Id. at 3. He admitted that the contract required him to

work for Shenzhen University “2 months per year during the contract period.” Id. Finally, he

admits that as far back as 2016, Shenzhen University hired him to promote and establish a joint

math Ph.D. program with SIUC and to help Shenzhen University students join that program. Id.

        Later, on January 21, 2021, agents returned to Mr. Xiao’s home at a prescheduled time to

return his Iphone and two computers, and to ask for Mr. Xiao’s consent to access his foreign bank

accounts on his Huawei phone. The entire encounter lasted only about fifteen minutes. Agents

began by reminding Mr. Xiao that they had discussed his Miranda rights in December 2020 and

that he did not have to talk to them. They then read part of the consent form out loud, explained

to Mr. Xiao what they wanted to access, and asked if he would sign the form. As that form shows,

Mr. Xiao consented to allow agents to assume his online identity to look at his ICBC and Ping An

Bank accounts. Mr. Xiao acknowledged he gave this consent “freely and voluntarily, without fear,

threats, coercion, or promises of any kind.” See Doc. 39-3. 5

                                                ARGUMENT

        “[O]fficers need not provide Miranda warnings unless the suspect is both ‘interrogated’

and ‘in custody.’ United States v. Leal, 1 F.4th 545, 549 (7th Cir. 2021) (citation omitted). An

individual is “in custody” when the individual “has been taken into custody or otherwise been

deprived of his freedom of action in any significant way.” Miranda v. Arizona, 384 U.S. 436, 444

(1966). That is, “[t]o establish that he was in custody at the time of the questioning, a defendant

must show that he was either ‘formally arrested’ or ‘subjected to restraints of freedom such that


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  Defendant’s motion creates some confusion about handwritten notes. Doc. 39 at 7 fn.2. The undersigned explained
to defense counsel on August 20, 2021, in writing, that “There are handwritten notes from when the agent accessed
the Huawei phone. Those notes are classified as a 1A in connection with the FD-302 interview report with Xiao from
January 21, 2021.”
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the conditions of a formal arrest were closely approximated or actually attained.” Leal, 1 F.4th at

549 (quoting United States v. Patterson, 826 F.3d 450, 455 (7th Cir. 2016)). Importantly, a person

who is ‘“free to end the interrogation and leave is not in custody.’” Id. (quoting United States v.

Higgins-Vogt, 911 F.3d 814, 820 (7th Cir. 2018)).

        Determining whether conditions closely approximated a formal arrest “is an objective

inquiry.” Id. “Courts must ascertain whether ‘a reasonable person [would] have felt he or she was

not at liberty to terminate the interrogation and leave.’” Id. (quoting Howes v. Fields, 565 U.S.

499, 509 (2012)). The relevant “Howes factors” are: “the location of the questioning; its duration;

statements made during the interview; the presence or absence of physical restraints during the

questioning; and the release of the interviewee at the end of the questioning.” Id.

        Finally, “the freedom-of-movement test identifies only a necessary and not a sufficient

condition for Miranda custody.” Maryland v. Shatzer, 559 U.S. 98, 112 (2010). The ultimate

inquiry is whether questioning presented the same “coercive pressures” as the type of station house

questioning at issue in Miranda. Id. at 113.

        “It is a well-established rule that ‘the burden is on the movant to make specific factual

allegations of illegality, to produce evidence and persuade the court that the evidence should be

suppressed.’” United States v. Madison, 689 F.2d 1300, 1308 (7th Cir. 1982) (citation

omitted). Once the defendant establishes a basis for his motion to suppress, the burden shifts to the

government to prove by a preponderance of the evidence that the statement was given

voluntarily. Id.

 A.     Defendant Xiao’s December 2020 interview was not a custodial interrogation.

        Defendant’s interview evinces none of the hallmarks of custodial interrogation.



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       Location. The first Howes factor is the location where the questioning occurred. Leal, 1

F.4th at 549. Agents spoke with Mr. Xiao at his residence, a large home located on a suburban

street and backing up to the Keller’s Crossing golf course in Makanda, Illinois. “[C]ourts rarely

conclude, absent a formal arrest, that a suspect questioned in her own home is ‘in custody.’”

United States v. Faux, 828 F.3d 130, 135–36 (2d Cir. 2016); LaFave, et al., 2 Crim. Proc. § 6.6(e)

(4th ed.) (noting that “courts are much less likely to find the circumstances custodial when the

interrogation occurs in familiar or at least neutral surroundings”).

       After agents waited a few minutes at the front door, Mr. Xiao invited them in (“Come,

please come”), encouraged them to take a seat in the dining room (“Now you guys have a seat.

Yeah, have a seat.”), and told them to “feel free to ask” any questions they had. Doc. 39-1 at 3.

Mr. Xiao’s invitation to come in reflects his knowledge that the encounter is collegial and

voluntary. Mr. Xiao then chose the location of the interview, the dining room, and invited the

agents to sit down—just as he would with any other guest, showing that Mr. Xiao is in his own

home and understands he is in control. He then invited the agents to “feel free to ask” questions,

objectively indicating to the agents that Mr. Xiao was entering the conversation voluntarily. There

was no show of force or intimidation.

       Defendant’s motion suggests that one agent said, “we should come in” when Mr. Xiao

came to the door. Doc. 39 at 10. Although the words “come in” can be heard on the audio

recording, it sounds questioning, and the phrase “we should come in” cannot be heard. At any

rate, that factual dispute does not matter. The whole exchange at the door lasts only a few seconds.

Mr. Xiao never expresses any hesitancy in allowing agents to come in, and in fact invites them to

come in out of the December weather. Doc. 39-1 at 3 (“Come, please come”). After they came

in, Mr. Xiao invited them to ask any questions they had. Id. It was not at all coercive. See United

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States v. Thompson, 496 F.3d 807, 811 (7th Cir. 2007) (finding no custodial interrogation where

defendant “invited the agents into his home and agreed to be questioned”).

       Moreover, agents went out of their way to make sure that the interview was not coercive.

Certainly the entire team of agents could have shown up in mass and agents could have conducted

the interview while carrying out the search warrant. That would have certainly looked and felt

more coercive to the objective reasonable person in Mr. Xiao’s shoes. But agents took the less

coercive route, sending only two agents to the door, and conducting a voluntary interview. Only

after the interview was complete did agents mention that they had a search warrant, shielding Mr.

Xiao from any coercive pressure that the warrant brought with it.

       Defendant’s motion makes much of the fact that agents sat in the seats nearest the door.

Doc. 39 at 10. But the interview recording and transcript show it was Mr. Xiao who directed the

agents to sit down. Doc. 39-1 at 3 (“Now you guys have a seat.”). Nor does the Defendant suggest

the room was so small that the seating arrangement prevented Mr. Xiao from leaving the room.

The opening from the dining room to the front foyer is wide (there is no door), leaving plenty of

room to go around the agents. In fact, at least one other member of Mr. Xiao’s family was coming

in and out (behind the agents) during the interview. Further, the motion to suppress does not

mention that the dining room has a second entry leading from the dining room to the back of the

house —and that Mr. Xiao was seated in front of that second entry. He also got up several times

to retrieve items. There was nothing coercive or restraining about the dining room or the seating.

       Finally, Defendant’s motion suggests Mr. Xiao was not in fact free to leave because the

agents had a search warrant to be there, and so “never intended to leave.” Doc. 39 at 11. This

flips the Howes analysis on its head. If anything, waiting to serve the search warrant made the

interview less coercive. But a reasonable person in Mr. Xiao’s shoes would not know about the

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warrant, so it could not affect his belief about whether he felt free to leave. Stansbury, 511 U.S.

318, 323 (1994) (explaining that officer’s subjective knowledge is not part of the objective test for

determining custodial interrogation). Moreover, even if the interview had occurred while the

search warrant was being carried out (and it did not), it still would not make the interview custodial.

See, e.g., United States v. Salyers, 160 F.3d 1152, 1159–60 (7th Cir. 1998) (holding a defendant

was not in custody during execution of search warrant at home when he was not restrained and

was not told he could not leave). In sum, the residential location of the interview strongly weighs

against the motion to suppress.

       Length. The second Howes factor is whether the interview was unduly long. Leal, 1 F.4th

at 549. Mr. Xiao’s interview with agents lasted about two hours and twenty minutes. For a fraud

interview covering a number of topics—e.g., the nature of Xiao’s relationship with several

different universities in China; his grants and grant applications; his applications for “talent

program” awards in China; his travel; the money he was receiving from those universities,

programs, and grants; and his disclosures to NSF, SIUC, and the IRS—this is a relatively short

interview. See, e.g., Beckwith v. United States, 425 U.S. 341, 347–48 (1976) (finding a three-hour

interview in suspect’s home during tax investigation did not implicate Miranda). Defendant

asserts that there were no breaks during this time, but points to no evidence that Mr. Xiao asked

for a break or wanted one. Again, Mr. Xiao felt free to move about.

       This factor also weighs against suppression. See Beckwith, 425 U.S. at 347-48; Patterson,

826 F.3d at 453 (holding two-hour interview was not custodial even though it occurred in FBI

conference room accessed through two locked doors).

       Statements. Another relevant factor is the statements made during the interview. Howes,

565 U.S. at 509. In Patterson and Leal, the Seventh Circuit “reasoned that the statements at issue

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weighed against suppression because the defendant ‘never said anything that indicated he did not

want to speak with the agents’ and ‘was never told he was under arrest.” Leal, 1 F.4th at 551

(quoting Patterson, 826 F.3d at 458). The same is true here. At the outset, Mr. Xiao invites the

agents to “feel free to ask” any questions they had. Doc. 39-1 at 3. At no point did he indicate to

agents that he was no longer willing to answer questions, and at no point was he told he was under

arrest (and in fact he was not). Following Leal and Patterson, this factor too weighs against

suppression.

       The rest of the interview was calm and collegial, agents did not raise their voices or make

any threats. See generally Att. A (recording). Defendant suggests the questioning was “coercive

and accusatory” because agents began by asking Mr. Xiao about “travel to China.” Doc. 39 at 11-

12. In fact, agents were interested in Mr. Xiao’s travel to China to work on his grants and

affiliations there. It is true that agents added a line about a potential identity mix up. Doc. 39-1 at

4. But agents are not required to ask only honest questions. United States v. Kontny, 238 F.3d

815, 817 (7th Cir. 2001) (“Trickery, deceit, even impersonation do not render a confession

inadmissible, certainly in noncustodial situations and usually in custodial ones as well, unless

government agents make threats or promises.”). And the motion fails to explain why these

questions were threatening or coercive. To the contrary, the motion seems to argue that they were

designed to put Mr. Xiao at ease, making the questioning less coercive not more coercive. At any

rate, agents quickly told Mr. Xiao they had questions about his grants and university affiliations in

China, which formed the bulk of the interview. Id. at 9.

       The motion also suggests the interview was custodial because English is not Mr. Xiao’s

first language. Doc. 39 at 12. Legally, the motion offers no citation in support of the idea that an

interrogation becomes more custodial when English is a second language. The relevant inquiry is

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whether Mr. Xiao felt free to terminate the interview. Factually, the motion omits some obvious

facts. Mr. Xiao is a university professor who has been lecturing in English and interacting with

students in English for decades. He has written dozens of academic articles in English and helps

non-English speakers with their English. See Att. C (noting that he helped a collaborator with his

English for an article). Yes, Mr. Xiao has an accent, but both his professional work and the

interview itself shows he has no difficulty understanding and communicating in English. Mr. Xiao

did not weakly acquiesce to agents’ suggestions. To the contrary, he sometimes responded to

questions at length. See, e.g., Doc. 39-1 at 13, 19, and 46. And when agents made mistakes, Mr.

Xiao was quick to correct them. E.g., Doc. 39-1 at 39 (Agent: “[Y]ou said you remembered about

the conflict of interest and you tried logging in.” Xiao: “Not remember they remind us.”).

       Relatedly, the motion makes the factual assertion that individuals “born and raised in

China” are “used to providing significant and unquestioning deference.” Id. at 13. Not only does

the motion offer no factual basis whatsoever for this claim, it is not born out by the transcript.

Again, Mr. Xiao pushed backed and minimized his fraud throughout the interview, there was no

“unquestioning deference.” This argument also lacks a legal basis. “Rather than focus on the

idiosyncrasies of individuals that can impact how questioning is perceived, the Court has opted for

an objective test.” United States v. Ambrose, 668 F.3d 943, 954 (7th Cir. 2012).

       Finally, the motion accuses the agents of “psychological tactics” like “posing

hypotheticals,” making “long-winded statements,” and rephrasing statements. Doc. 39 at 12

(quoting Doc. 39-1 at 59, Agent: “I’m not trying to put words in your mouth”). But, again, the

motion offers no explanation for why these so-called tactics made the interview more custodial.

United States v. Rutledge, 900 F.2d 1127, 1131 (7th Cir. 1990) (“far from making the police a

fiduciary of the suspect, the law permits the police to pressure and cajole”). Law enforcement can

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and should ask questions designed to elicit truthful answers and test the interviewee’s truthfulness.

Id. For example, agents asked Mr. Xiao at different points whether he had a contract with

Shenzhen University to carry out specific tasks. Doc. 39-1 at 19, 26, 53-54. Mr. Xiao revised his

answer each time, stating early on that he just sometimes gives talks there, stating the next time

that he supervises their students and reviews their work, and later admitting that he receives

monthly payments from them. Id. For all these reasons, this factor supports denial of the motion.

       No restraints. Howes also directed courts to look at “the presence or absence of physical

restraints during the questioning.” Howes, 565 U.S. at 509. This factor, too, shows that the

interview was not custodial. There were no drawn weapons, no vehicle stop, no temporary

detention, no pat-down, no show of force. The Seventh Circuit has held that this factor weighs

against custody simply when agents do not draw or actively use their weapons or handcuff the

suspect. Patterson, 826 F.3d at 457 (“That the agents did not draw or actively use their weapons

to assert authority over Patterson weighs against custody.”). There was nothing even close to that

here. See Thompson, 496 F.3d at 811 (finding suspect was not in custody and noting that “agents

did not raise their voices or display their weapons in an intimidating manner, nor did they

physically restrain Thompson in any way”).

       Despite all this, Defendant’s motion asserts that Mr. Xiao was not free to leave because he

had nowhere to go. Doc. 39 at 10-11. The first argument is that Mr. Xiao was somehow not free

to leave because of the COVID pandemic. This is factually incorrect, as lockdown restrictions in

Illinois ended long before December 2020. And it gets the legal analysis wrong. The question is

whether “‘a reasonable person [would] have felt he or she was not at liberty to terminate the

interrogation and leave.’” Leal, 1 F.4th at 549 (citation omitted). The “leaving” part of that

analysis assumes the location is somewhere more intimidating that the individual’s own home,

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because one’s own home will typically be the least coercive setting for an interview with law

enforcement. See Faux, 828 F.3d at 135–36. The way to end an interview in one’s own home is

to ask agents to leave. Mr. Xiao never asked the agents to leave, to the contrary, he invited them

to ask questions. At any rate, Mr. Xiao was free to leave, as shown by the fact that members of

the Xiao family were coming and going during the interview (going behind the agents) and there

were many other areas of the house. The motion conspicuously fails to mention that Mr. Xiao

seated himself in front of a second entry into the dining room. Again, the interview was conducted

in a comfortable suburban home, not a cramped interrogation room or apartment.

       No arrest. The last Howes factor is whether the defendant was released at the end of

questioning. Leal, 1 F.4th at 549. The officers left the house after carrying out the search warrant

and did not detain Mr. Xiao in any way at any time. Nor did the agent ever suggest Mr. Xiao might

be detained at any point. Patterson, 826 F.3d at 458 (“suspect never told he was under arrest one

factor in finding no custody for purposes of Miranda”) (citing United States v. Wyatt, 179 F.3d

532, 536 (7th Cir. 1999)); Thompson, 496 F.3d at 811 (“Thompson was not arrested at the

conclusion of the interview, and his own actions the following morning . . . suggest that Thompson

himself did not believe that he was in custody.”). In fact, the government did not seek detention

even after the indictment was filed.

       Defendant’s remaining arguments lack merit too. Defendant’s suppression argument relies

heavily on a single Ninth Circuit case, United States v. Craigshead, 539 F.3d 1073 (9th Cir. 2008)

and a district court opinion purportedly applying it, United States v. Juan, No. 2:20-cr-134, 2021

WL 2212235 (E.D. Ca.). See Def. Mot. at 8, 9, 10, 11. But Defendant omits the fact that the

suspect in Craigshead “was interrogated by eight officers in the storage room of his house with

the door shut.” United States v. Burk, 737 F. App’x 963, 971 (11th Cir. 2018) (rejecting a similar

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attempt to rely on Craigshead). And the interview in Juan occurred in a small apartment rather

than a suburban home. Juan, 2021 WL 2212235 at *4. Legally, Defendant quotes Craigshead for

the principle that “interrogation conducted within the suspect’s home is not per se custodial.” Doc.

39 at 9. But he omits the next sentence, “On the contrary, courts have generally been much less

likely to find that an interrogation in the suspect’s home was custodial in nature.” Craigshead,

539 F.3d at 1078 (emphasis added). Finally, there are important legal distinctions between Seventh

Circuit law and Juan’s reading of Ninth Circuit law. For example, law enforcement does not have

to affirmatively tell the suspect he is free to leave and is not under arrest, particularly where the

suspect invites questions. Leal, 1 F.4th at 551; Patterson, 826 F.3d at 458. And Ambrose requires

an objective analysis, rather than a “focus on the idiosyncrasies of individuals that can impact how

questioning is perceived.” 668 F.3d at 954.

       Next, Defendant’s motion suggests the agents gave belated Miranda warnings after

engaging in a “question-first” approach in violation of Missouri v. Siebert, 542 U.S. 600 (2004).

Doc. 39 at 13-14. But as the Seventh Circuit has explained, Siebert has no application in cases

like this one, where the defendant was not in custody in the first place. Thompson, 496 F.3d at

811. Siebert stands for the principle that belated Miranda warnings do not remedy an earlier

custodial interrogation. Id. It does not say that Miranda warnings at the end of an interview

somehow transform an earlier interview into a custodial interrogation. At any rate, agents

reminded Mr. Xiao in January of their earlier discussion of his Miranda rights. And the passing

of six weeks created a “sufficient break in the stream of events” to separate the two encounters

from each other. See Ambrose, 668 F.3d at 955. There is no argument that the January 2021

exchange was anything but voluntary, as the next section explains.

B.     Defendant Xiao voluntarily consented to law enforcement accessing his foreign bank
       account information in January 2021.
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       Next, the defense suggests that Mr. Xiao’s signed consent to allow agents to assume his

online identity and access his ICBC and Ping An Bank phone applications should be suppressed.

Doc. 39 at 14-16. The Court should reject this argument too. If the first interview was not

custodial, this second interview was certainly not custodial under the Howes factors: (1) it too took

place in Mr. Xiao’s residence at his dining room table, (2) it lasted only about fifteen minutes, (3)

Mr. Xiao signed a consent form, (4) there were no restraints of any kind, and (5) Mr. Xiao already

knew there was no arrest after his last encounter with law enforcement and there was suggestion

whatsoever that this encounter would end differently. There’s no “domination of the scene”: just

a brief exchange to return property and ask Mr. Xiao for his consent to access accounts.

       Agents arranged to meet with Mr. Xiao to return property: two computers and an Iphone.

Agents began this encounter by reminding Mr. Xiao that they had discussed his Miranda rights in

December. They then read part of the consent form aloud and asked Mr. Xiao if he would sign it.

As the consent form shows, Mr. Xiao gave the consent “freely and voluntarily, without fear,

threats, coercion, or promises of any kind.” Doc. 39-3. Mr. Xiao, a university professor, now says

he did not understand the form and that agents had not explained it to him. Doc. 39 at 14-15. But

Mr. Xiao acknowledged that agents had advised him of his “right to refuse” this request and

acknowledged that he was “voluntarily waiv[ing] this right.” Doc. 39-3.

       The Court should also reject Defendant’s claim that the consent was obtained by “false

promises and threats.” Doc. 39 at 15. “To prevail on this point defendant must produce clear and

convincing evidence that the agents affirmatively misle[d] him as to the true nature of their

investigation” and that the “misinformation was material in his decision to speak with the agents.”

United States v. Serlin, 707 F.3d 953, 956 (7th Cir. 1983). Defendant falls far short of meeting

this “heavy burden” to show “affirmative deceit” on this point. United States v. Peters, 153 F.3d
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445, 451 (7th Cir. 1998) (‘“Simple failure to inform defendant that he was the subject of the

investigation, or that the investigation was criminal in nature, does not amount to affirmative deceit

unless defendant inquired about the nature of the investigation and the agents’ failure to respond

was intended to mislead.’”) (citation omitted).

       Defendant’s argument is again contradicted by his own words on the consent form, which

acknowledged that consent was made voluntarily “without fear, threats, coercion or promises of

any kind.” Doc. 39-3. Defendant suggests agents had told him back in December not to speak

with other professors about the investigation “to protect his reputation.” Doc. 39 at 16. First, this

is factually incorrect, agents explained to Mr. Xiao that they were not trying to hurt his reputation

or tell anyone about the search warrant. Agents never told Mr. Xiao he could not to talk to others.

Second, agents are of course free to ask a suspect not to talk to other witnesses. It is not a threat.

Moreover, there was no attempt to isolate Mr. Xiao. Mr. Xiao’s adult daughter was even in the

room for parts of the interview. Third, while Defendant’s motion claims that Mr. Xiao did “not

discuss his case with anyone” between these two interviews, that factual claim is contradicted by

Mr. Xiao’s own submissions to SIUC. Mr. Xiao talked to Professor DiLilla about his relationship

with Shenzhen University after his December 3 interview. On January 16, Mr. Xiao explained in

his revised financial disclosure forms to SIUC that he submitted the revisions based on his

discussions with Mr. DiLilla. See Att. C. Finally, Defendant does not at all suggest that agents

told him not to talk to a lawyer. To the contrary, Mr. Xiao was told he had a right to an attorney.

Again, agents did not isolate Mr. Xiao.

        Defendant next makes vague factual allegations that agents told him he was “fine” and

“okay.” Doc. 39 at 15-16. These factual allegations do not come close to satisfying Defendant’s

“heavy burden” to show that he signed the consent form based on “affirmative deceit” from agents.

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Peters, 153 F.3d at 451. Notably, Defendant does not argue that he asked agents about the nature

of the investigation, or whether he was going to be indicted. Id. So it is safe to assume no such

questions were asked. Without any explanation about what Defendant asked that elicited the

response “fine” and “okay,” the statements say little to nothing.

       At any rate, Defendant asserts that these alleged statements by agents were made in

December after the interview recording ended, and thus after agents had Mirandized Mr. Xiao and

presented the search warrant. Mr. Xiao knew what was going on. Moreover, agents affirmatively

explained precisely what the consent form was for: they wanted to access the phone applications

for his foreign bank accounts. It was not obtained by false promises or threats.

C.     Defendant voluntarily provided his cellphone passwords to law enforcement.

        Defendant next argues that any evidence procured from Mr. Xiao’s cell phones should be

suppressed, as the provision of the passwords for those devices was testimonial. Doc. 39 at 17-

18. There is no reason for the Court to reach that question at all because Mr. Xiao provided the

information voluntarily, and without coercion, at agents’ request.   See Doc. 39-1 at 71-72. He

provided the passwords after agents had read him his Miranda rights. Id. at 70. In addition,

Defendant separately consented to agents accessing specific applications on his Huawei phone,

providing a second layer of consent as to any evidence obtained from those applications. See Doc.

39-3. Accordingly, it does not matter whether passwords are testimonial or nontestimonial. Like

all his statements, Mr. Xiao’s statements providing his passwords were voluntary. At any rate, the

passwords are nontestimonial under the foregone-conclusion doctrine. The government already

knew that Mr. Xiao knew the passwords to the devices, so their production does not compel

testimony. See Fisher v. United States, 425 U.S. 391, 411 (1976).

D.     The search warrant was supported by probable cause.

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       Finally, Defendant briefly attacks the seizure of his Huawei cellphone. Doc. 39 at 18-19.

       There is no doubt that the Court’s search warrant authorized the seizure of Mr. Xiao’s

devices, including his cellphones.       The seizure was expressly authorized in the warrant’s

Attachment B, ¶ A (authorizing seizure of electronic files located on any computer or storage

medium with relevant documents) and ¶ D (defining “computer” to include mobile phones). See

Doc. 39-4. Thus, Defendant is simply wrong when he states that the seizure “was not supported

by the search warrant.” Doc. 39 at 18.

       Defendant next suggests that the warrant was improper because the search warrant affidavit

did not identify or discuss cellphones. Id. This, too, is mistaken. Pages 48-51 of the affidavit

specifically set forth probable cause to seize electronic files on the computers and storage mediums

“described above and in Attachment B.” Doc. 40-1, Aff. ¶ 132. Both the affidavit and the

attachment define “computers” to include cellphones. And subparagraph 133(f) of the affidavit

expressly addressed cellular telephones as a particular type of computer or storage device and

explained why there was probable cause to believe evidence may be found on thefxm, including

geographic location and communications relating to the crime. Id. Much of the evidence

summarized in the affidavit was obtained from electronic files, so there was probable cause to

search Mr. Xiao’s electronic devices, including his cellphones, for similar evidence, including

communications relating to the grant fraud under investigation.

       Finally, Defendant argues that the government needed to obtain a new search warrant to

access particular mobile banking applications on the cell phone. But Defendant expressly provided

consent for agents to access the mobile banking applications. Thus, no additional search warrant

was required.




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                                          Respectfully submitted,

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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )
                                               )
                vs.                            )    Case No. 4:21-cr-40039-SMY
                                               )
MINGQING XIAO,                                 )
                                               )
                        Defendant.             )

                                     Certificate of Service

        I hereby certify that on September 16, 2021, I caused the foregoing to be electronically

filed with the Clerk of Court using the CM/ECF system which will send notification of such filing

to all attorneys of record.



                                                    Respectfully submitted,

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